'   ..
                                                                       FILED IN OPEN COURT
                                                                       ON     \\-   ~-\ ~      Be+l
                                                                            Peter A. Moore, Jr., Clerk
                                                                            US District Court
                               UNITED STATES DISTRICT COURT      Eastern District of NC
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                     WESTERN DIVISION

                                     NO.   5: JB-U-00452-Fli3)
         IN RE:

         TWENTY-NINE COUNT INDICTMENT                MOTION TO SEAL INDICTMENT
         OF NOVEMBER 8, 2018

                 The United States of America, by and through the United States

         Attorney     for     the   Eastern   District   of   North   Carolina,          hereby

         requests that the Indictment named on the previously q.ttached Grand

         Jury Agenda be sealed so that the Defendant herein named can be

         apprehended and says:

                 If the name of the defendant was to be made public prior·to

         arrest, the chances of apprehending the defendant or apprehending

         the defendant without threat of violence or public commotion would

         be significantly reduced.

                 WHEREFORE,    the United States of America respectfully prays

         for the sealing of the above-referenced Indictment for thirty (30)

         days,    or upon motion of the United States Attorney to unseal,

         whichever event occurs first.




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This 8th day of November, 2018.

                            ROBERT J. HIGDON, JR.
                            United States Attorney



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